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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


UNITED STATES OF AMERICA ex rel.            )
LAZARO SUAREZ, and on behalf of the         )
STATE OF CALIFORNIA, et al.,                )
                                            )
               Plaintiff-Relator,           )
                                                Case No. 1:15-cv-08928
                                            )
v.                                          )
                                                Hon. Rebecca Pallmeyer
                                            )
ABBVIE INC. and                             )
ABBOTT LABORATORIES,                        )
                                            )
               Defendants.                  )



     BRIEF IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S
                      SECOND AMENDED COMPLAINT

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       Relator Lazaro Suarez has not cured any of the multiple defects that led to dismissal of his

First Amended Complaint. The core theory of his case remains the same—that AbbVie’s patient

support program for its medication Humira was actually a concealed kickback to prescribing

doctors, supposedly rendering claims for government reimbursement for Humira “false” under the

False Claims Act (“FCA”), 31 U.S.C. §§ 3729-33, and similar state laws. No matter how many

factual details Suarez tries to add, he cannot overcome the critical flaw in his theory: AbbVie’s

support services integrally related to its own product are not kickbacks as a matter of law.

       Beyond that fundamental problem, the Second Amended Complaint (“SAC”) also fails to

address this Court’s rulings on pleading with particularity and scienter. Nor does the complaint

correct the other shortcomings AbbVie identified in its prior motion to dismiss, including that

Suarez’s allegations run headlong into the public disclosure bar. Dismissal—this time with

prejudice—is therefore required for several independent reasons.

       First, Suarez still has not alleged that AbbVie provided unlawful “remuneration” to doctors

or patients in violation of the Anti-Kickback Statute (“AKS”). 42 U.S.C. § 1320a-7b(b). As this

Court’s dismissal order recognized, Suarez’s central theory that “offering free product support or

reimbursement support services could violate the AKS merely because it saves physicians money”

is “a premise that appears inconsistent with the OIG guidance” that permits manufacturers to offer

“programs specifically tied to support of the purchased product.” Dkt. 74 (MTD Op.), at 12, 18

(quoting 68 Fed. Reg. 23731-01, 23735 (May 5, 2003)). But Suarez once again “has alleged only

the provision of Humira-related services” and has not “sufficiently pleaded that Humira-related

‘goods or services provided by AbbVie eliminate an expense that the physician would have

otherwise incurred (i.e., have independent value to the physician).’” Id. at 14-15 (brackets omitted)

(quoting 68 Fed. Reg. at 23737). The new complaint merely offers additional “details concerning
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the types of services Ambassadors provide,” but still does not “explain[] how the services provided

substantial independent value—as opposed to ‘permissible product support’—for physicians.” Id.

at 16 (quoting U.S. ex rel. Forney v. Medtronic, Inc., 2017 WL 2653568, at *4 (E.D. Pa. June 19,

2017)). The Court already held that is not enough. The complaint therefore fails to allege

“remuneration” and cannot state a claim as a matter of law.

       Second, even if Suarez’s core theory were viable, and it is not, Suarez fails to allege any

AKS violation or false claim with particularity, as Rule 9(b) requires. See id. at 18-24. Once

again, “[t]hough he names doctors that benefited from the Ambassador Program generally,

[Suarez] does not allege that any doctors (let alone any specific doctors) reduced their expenses or

downsized their own staff as a result of Ambassadors’ support services.” Id. at 18. He also still

“does not name a specific patient for whom a doctor prescribed Humira in exchange for a

kickback,” or “that a claim was submitted to a government health care program for any such

patient.” Id. at 20. The new “representative” examples Suarez points to as purported “[e]vidence

linking AbbVie’s conduct to specific government reimbursements for Humira,” see SAC ¶¶ 11

n.2, 152-60, do not come close, as they fail to “describe the ‘who, what, when, where, and how’”

of the alleged fraud. U.S. ex rel. Berkowitz v. Automation Aids, Inc., 896 F.3d 834, 839 (7th Cir.

2018). Just like his original complaint, “the facts [Suarez] alleges do not ‘necessarily,’ or even

reliably, ‘lead one to the conclusion that AbbVie presented claims to the Government.’” MTD

Op., at 24 (brackets omitted) (quoting U.S. ex rel. Presser v. Acacia Mental Health Clinic, LLC,

836 F.3d 770, 778 (7th Cir. 2016)).

       Third, Suarez fails to plead scienter under either the AKS or the FCA. Under the AKS,

“[Suarez’s] burden is to allege facts supporting an inference that AbbVie thought the Ambassador

Program was impermissible.” Id. at 26. Suarez does not. Instead, he offers only conclusory



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allegations of knowledge, see SAC ¶¶ 185-89, plus allegations that AbbVie mischaracterized its

motives for creating the Ambassador Program, see, e.g., id. at ¶¶ 8, 179, neither of which is

sufficient. And this Court already found that AbbVie’s public promotion of the services offered

by the Ambassador Program “dispels any inference that AbbVie was trying to conceal the services

that [Suarez] contends violate the AKS.” MTD Op., at 26-27.

       Independently, Suarez has not pled the requisite scienter under the FCA because he cannot

“show that there is no reasonable interpretation of the law that would make the allegedly false

statement true,” and therefore cannot show AbbVie “knowingly” violated the law. U.S. ex rel.

Hixson v. Health Mgmt. Sys., Inc., 613 F.3d 1186, 1191 (8th Cir. 2010). To the contrary, “OIG

guidance recognizes that a pharmaceutical company can provide product and reimbursement

support services without violating the law.” MTD Op., at 26.

       Fourth, the FCA’s public disclosure bar requires dismissal because Suarez’s allegations

are “substantially the same [as] allegations or transactions [that have been] publicly disclosed” and

he is not an “original source of the information.” 31 U.S.C. § 3730(e)(4)(A). AbbVie openly

advertised its patient support program, stating on its website that patients could seek help with

issues ranging from injections to insurance. Commentators on other websites outlined the precise

theory in this case—that the program influenced doctors to prescribe Humira. Anyone could have

“drawn” the same (mistaken) “inference” of fraud alleged by Suarez “from the available facts,”

Cause of Action v. Chi. Transit Auth., 815 F.3d 267, 281 (7th Cir. 2016), and so he has brought

nothing new to the table. That is dispositive under the public disclosure bar.

       Fifth, Suarez’s hastily pled alternative theories of liability fare no better. His allegation

that AbbVie violated federal drug-marketing rules is undeveloped and—more importantly—

untethered from any actual false claims for payment. And the state-law counts not only fail for all



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the same reasons as Suarez’s federal theory, but also because he does not allege any conduct, much

less improper conduct, in virtually all of those states.

        In short, Suarez again has not adequately pled any of his claims. Given that he has already

had the opportunity to fix his complaint and further amendment would be futile, especially in light

of his fundamentally flawed liability theory, the Court should dismiss the complaint with prejudice.

                                         BACKGROUND

        AbbVie disputes Suarez’s factual allegations, which are inaccurate and misleading. But

for the purposes of this motion, AbbVie—as it must—assumes their truth. See Berkowitz, 896

F.3d at 839. The following allegations come from the Second Amended Complaint.

I.      ABBVIE’S AMBASSADOR SUPPORT PROGRAM

        AbbVie is a pharmaceutical company that develops and manufactures groundbreaking

medications like Humira, an injectable biologic drug that treats many serious autoimmune

diseases. SAC ¶¶ 2, 22, 51-54. Patients can self-inject Humira, but they require training on how

to safely and effectively do so.        Id. ¶ 53.       Humira “patients generally need [injections]

approximately every two weeks,” and it is vital that they receive ongoing support. Id. “[O]nce a

patient starts on Humira, they will be advised to stay on it indefinitely. Indeed, patients are warned

that if they abruptly stop treatment … they may have a ‘severe’ reaction or ‘flare up’ of their

condition after which they may not respond to Humira or other similar treatment.” Id.

        To provide patients with support to meet these unique needs, AbbVie launched its

“Ambassador Program.” Id. ¶ 68. Under the Program, AbbVie employs a staff of registered nurses

(“Ambassadors”) tasked with helping patients safely use Humira. Id. For example, Ambassadors

“communicat[e] with patients in response to questions about their treatment and disease states,”

provide in-home “injection training,” and ensure needy patients have access to free doses during

gaps in insurance coverage. Id. ¶¶ 68, 144, 153, 159. They also provide guidance to patients on

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how to navigate Humira-related insurance issues. Id. ¶ 157. And Ambassadors offer products that

help patients effectively use Humira, such as travel coolers (Humira must be kept refrigerated) and

“‘Talking Training Pens’ used to train patient[s] on how to inject themselves.” Id. ¶¶ 71, 108.

        Suarez does not allege that Ambassadors offered any services unrelated to Humira and

Humira patients. In fact, the complaint opens with the admission that Ambassadors are available

“[i]f, and only if, a doctor chooses to prescribe Humira.” Id. ¶ 3. Suarez concedes that, as an

Ambassador himself, he personally “worked exclusively in connection with … Humira.” Id. ¶ 17

(emphasis added).

        Rather, Suarez’s theory is that claims for Humira reimbursement were “false” because the

Ambassador Program itself was supposedly a veiled kickback scheme—and apparently a poorly

disguised one, given that AbbVie openly advertised on patient- and physician-facing websites. 1

Id. ¶ 84. Specifically, he asserts that the Program improperly influenced doctors to prescribe

Humira because Ambassadors “perform[ed] administrative and patient care tasks” that “freed up”

physicians to focus on billable activities. Id. ¶ 5. Although AbbVie indisputably was providing

support for its own product—and only its own product—Suarez nonetheless claims that these

efforts were kickbacks that conferred “independent value” on doctors. Id. ¶ 6.




1
    E.g. Ex. A. Humira.com, How to inject HUMIRA® (adalimumab)—Giving Yourself the Medicine,
    https://web.archive.org/web/20150905102756/https:/www.humira.com/global/how-to-inject-humira
    (captured Sept. 5, 2015; last accessed Jan. 22, 2020) (explaining patients could receive “[i]n-person
    injection training” and “step-by-step guidance from a registered nurse in [their] home, office, or clinic,”
    and nurses could “follow up with [patients] for the first few months of treatment”). AbbVie respectfully
    requests this Court take judicial notice of these “matters of public record.” Cause of Action, 815 F.3d
    at 277 n.13; see MTD Op., at 27 (acknowledging AbbVie’s website); U.S. ex rel. John v. Hastert, 82
    F. Supp. 3d 750, 764 (N.D. Ill. 2015) (taking judicial notice of news articles “to conclude that the
    information contained in [the plaintiff’s] complaint ha[d] previously been publicly disclosed and was
    in the public realm”); see also Geinosky v. City of Chicago, 675 F.3d 743, 745 n.1 (7th Cir. 2012)
    (Court may consider “information that is subject to proper judicial notice” without converting 12(b)(6)
    motion to summary judgment).


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II.      PROCEDURAL HISTORY

         On October 8, 2015, Suarez filed this qui tam action against AbbVie and its predecessor,

Abbott Laboratories, alleging violations of the FCA and several state-law analogs. Dkt. 1. On

March 13, 2018, the government declined to intervene—as did all thirty-one states and the District

of Columbia—and the Court ordered the complaint unsealed. Dkts. 26-28.

         A.       This Court’s Dismissal of the First Amended Complaint

         Defendants moved to dismiss Suarez’s Amended Complaint on October 31, 2018. See

Dkt. 58. The Court granted the motion. 2 MTD Op., at 31. In a thorough opinion, the Court ruled

that Suarez had not adequately alleged a violation of the AKS in light of extensive agency guidance

permitting drug manufacturers to offer product-support services. Id. at 10-19. The Court held that

Suarez failed to show the Ambassador Program offered non-Humira goods or services or saved

doctors money they otherwise would have spent. Id. at 11-19. The Court also held that Suarez

did not plead his claims with particularity, much less the particularity required to state a claim for

nationwide fraud. Id. 19-25. And it determined that Suarez had not alleged that AbbVie acted

with the necessary scienter, id. at 25-28, or stated a claim for conspiracy, a reverse-FCA violation,

or any violation of other federal and state laws. Id. at 29-30 & n.10. The Court gave Suarez leave

to amend most of his claims, but dismissed Count IV (the reverse-FCA claim) and Count XXIV

(the New Hampshire claim) with prejudice. Id. at 30-31 & n.10.




2
      Just a few months earlier, two other district courts dismissed FCA lawsuits against AbbVie that also
      involved the Ambassador Program at the pleading stage. See U.S. ex rel. LaFauci v. AbbVie Inc., 2019
      WL 1450791 (D.N.J. Apr. 2, 2019); U.S. ex rel. Miller v. AbbVie Inc., No. 3:16-cv-02111, Dkt. 60
      (N.D. Tex. May 9, 2019).


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       B.      Suarez’s Second Amended Complaint

       On November 26, 2019, Suarez filed a Second Amended Complaint, adding dozens of

paragraphs of new allegations and revising or deleting several others. The new complaint rehashes

and expands his prior allegations that AbbVie sought to conceal its “true motive” in enacting the

Ambassador Program, e.g. id. ¶¶ 1-2, 8, 65-67 77-82, 88-89, 92, 100-02, 179, 185-89; quotes

generic statistics and industry data about the costs of running a medical practice, e.g. id. ¶¶ 5-6,

55-64; alleges that Suarez engaged in activities outside of Florida while serving as an Ambassador,

e.g. id. ¶¶ 19, 162-70; and provides sparse anecdotes about mostly nameless doctors and patients

who allegedly encountered or praised the Ambassador Program, e.g. id. ¶¶ 152-60; cf. id. ¶¶ 68-

71, 116, 118, 121-22, 141.

       Notably, the revised complaint does not:

       x    allege that Ambassadors provide any services unrelated to Humira, see MTD Op., at
            13-14;

       x    allege that Ambassadors relieve healthcare providers of costs they would “otherwise
            incur[]” but for their decision to prescribe Humira, id. at 15;

       x    allege that any particular doctors reduced their expenses or downsized their staff as a
            result of Ambassadors’ support services, id. at 18-19;

       x    allege with particularity the “who, what, when, and how” of occasions where a
            specific doctor prescribed Humira to a specific patient in exchange for a kickback,
            causing a government healthcare program to actually reimburse the prescription, id. at
            9, 19-25;

       x    allege that Suarez lacks access to claim information, id. at 23;

       x    allege with specificity that AbbVie’s purported fraud took place in 30 states and the
            District of Columbia, id. at 24-25;

       x    allege facts supporting an inference that AbbVie thought the Ambassador Program
            was impermissible, id. at 25-27;

       x    allege facts supporting an inference that AbbVie implemented the Ambassador
            Program with knowledge of wrongdoing, id. at 27-28; or


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        x   allege services provided through the Ambassador Program that were not publicly
            disclosed on AbbVie’s websites. See id. at 28.

                                      LEGAL STANDARD

        To avoid dismissal under Rule 12(b)(6), Suarez must plead “sufficient factual information

to state a claim to relief that is plausible on its face.” Berkowitz, 896 F.3d at 839. In other words,

he must allege “more than a sheer possibility that [AbbVie] has acted unlawfully.” Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009). Additionally, because he alleges fraud under the FCA and AKS,

Suarez must plead his claims with particularity under Rule 9(b). Berkowitz, 896 F.3d at 839. The

Court must therefore dismiss all counts unless the complaint includes, at minimum, “the ‘who,

what, when, where, and how’ of the fraud.” Id.

                                           ARGUMENT

        Suarez’s new complaint is just as flawed as its predecessor. First, Suarez still does not

allege an unlawful kickback, and his new assertions only confirm that the Ambassador Program

complied with settled interpretations of the AKS that permit patient support programs. This alone

dooms the complaint. Second, and independently, Suarez does not plead his claims with the

particularity Rule 9(b) requires. Third, the complaint does not allege AKS or FCA scienter.

Fourth, the public-disclosure bar requires dismissal, as AbbVie widely advertised the very same

conduct that Suarez now says is illegal. Fifth, the complaint’s bare-bones allegations still do not

state a violation of federal marketing rules or state-law analogues to the FCA. In light of these

persistent defects, dismissal with prejudice is warranted.

I.      SUAREZ DOES NOT ALLEGE A FALSE CLAIM.

        Suarez’s theory here is the same as before: that AbbVie violated the AKS when it

implemented the Ambassador Program to assist Humira patients, and that this purported violation

tainted claims for the drug. See SAC ¶¶ 11, 23. But just as before, nothing in Suarez’s new


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complaint shows that the Program offered unlawful “remuneration” under the AKS. 42 U.S.C.

§ 1320a-7b(b); see also MTD Op., at 10-19. As this Court correctly ruled, the law is clear that

patient support programs are permissible when they offer “only the provision of [drug]-related

services” and do not confer substantial “independent value” on physicians by eliminating expenses

they would have “otherwise incurred” but for the drug. MTD Op., at 14-15; Forney, 2017 WL

2653568, at *4. Everything in the complaint again shows that “AbbVie provided these exact type

of support services—and no others.” MTD Op., at 15. In fact, Suarez admits at the outset that the

Program kicks in “[i]f, and only if, a doctor chooses to prescribe Humira” and that he “worked

exclusively in connection with … Humira.” SAC at ¶¶ 3, 17.

       Consistent governmental guidance establishes that AbbVie was entitled to offer goods and

services integrally related to Humira that provided no substantial value untethered from the

medication. See 78 Fed. Reg. 79202, 79210 (Dec. 27, 2013) (“We have long distinguished

between free items and services that are integrally related to the offering provider’s or supplier’s

services and those that are not.”); 68 Fed. Reg. at 23735 (“Standing alone, services that have no

substantial independent value to the purchaser may not implicate the [AKS].”). Indeed, the

government has identified several examples of acceptable products and services, all of which are

similar or even identical to those Suarez alleges here. E.g. 78 Fed. Reg. at 79210 (computers that

“could be used only … to print out test results produced by the laboratory company”); 68 Fed.

Reg. at 23735 (“billing assistance tailored to the purchased products, reimbursement consultation,

and other programs specifically tied to the purchased product”); OIG Adv. Op. No. 00-10 (Dec.

15, 2000) (acting as a “clearinghouse for information” on insurance and reimbursement); 70 Fed.




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Reg. 70623-03 (Nov. 22, 2005) (free drugs to needy patients). 3 And in recent qui tam lawsuits

like this one, the government has reiterated its “strong interest in ensuring that patients have access

to basic product support”—an objective that numerous courts have credited. U.S. ex rel. NHCA-

TEV, LLC v. Teva Pharm. Prods. Ltd., 2019 WL 6327207, at *3-5 (E.D. Pa. Nov. 26, 2019); 4 cf.

MTD Op., at 16 (“The United States has expressed concerns similar to this court’s ….”); Oral

Argument at 46:15, U.S. ex rel. CIMZNHCA, LLC v. UCB, Inc., No. 19-2273 (7th Cir., Jan. 23,

2020) 5 (government counsel explaining that “the United States has made a determination that it is

not in the interest of the public that this whole industry be dragged through years of litigation based

on practices that the United States has determined don’t set out an articulable violation of the

[AKS]”).

        Here, Suarez’s complaint again identifies only patient support services that were integrally

related to helping patients use Humira and that offered no substantial independent value. For

example, he claims that Ambassadors were tasked with “fulfilling the Humira prescription and

answering patient questions about it,” “making sure the patient has access to reimbursement or, as

needed, free drugs,” “advis[ing] patients on ways in which to limit adverse events at injection



3
    See also OIG Adv. Ops. No. 12-10 (Aug. 23, 2012) (“free insurance pre-authorization services”), No.
    06-03 (Apr. 18, 2006) (patient assistance programs), No. 06-14 (Sept. 21, 2006) (same), No. 06-19
    (Oct. 26, 2006) (same), No. 06-21 (Nov. 2, 2006) (same).
4
    Accord United States v. EMD Serono, Inc., 370 F. Supp. 3d 483, 489-90 (E.D. Pa. 2019); U.S. ex rel.
    SCEF, LLC v. AstraZeneca, Inc., 2019 WL 5725182, at *2-3 (W.D. Wash. Nov. 5, 2019); cf. Mem. of
    Law in Support of U.S.’s Mot. to Dismiss Relator’s First Am. Compl. at 15-16, U.S. ex rel. NHCA-
    TEV, LLC v. Teva Pharm. Prods. Ltd., No. 2:17-cv-2040-JD (E.D. Pa. Dec. 17, 2018), Dkt. 30
    (emphasizing the government’s “strong interest in … patients hav[ing] access to basic product support
    relating to their medication, such as … instructions on how to properly inject or store their medication”).
5
    Available at http://media.ca7.uscourts.gov/sound/external/pnr.19-2273.19-2273_01_23_2020.mp3
    (last accessed January 26, 2020). See also id. at 45:32 (government counsel explaining that “part of
    the education is to allow patients to inject themselves with their drug which obviously … is good for
    the patients … [and] also saves the United States … Medicare costs”).


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sites,” and “discuss[ing] with patients their backgrounds and related diagnoses.” SAC ¶¶ 118-22.

Indeed, the new allegations ostensibly aimed at overcoming the original pleading defects—those

describing “representative cases” of Ambassador assistance—solely concern Humira-related

work. See id. ¶¶ 153-60 (discussing cases involving “injection training,” “obtain[ing] assistance

… during the Medicare coverage gap,” and “securing … coverage for [a] Humira prescription”).

And although the complaint reiterates the conclusory allegation that the Ambassador Program

saved doctors “time and money they (or their staff) would otherwise have [had] to spend on patient

care and administration,” id. ¶ 68, those alleged savings still just concern Humira-related costs,

e.g. id. ¶¶ 6, 68 (noting “communications with patients in response to questions about their

treatment and disease states”); 152-60 (describing only Humira-related services in the

“representative” examples). As this Court has already explained, the notion that “free product

support or reimbursement support services could violate the AKS merely because [they] save[]

physicians money … appears inconsistent with [the government] guidance” that permits assistance

programs specifically tailored to particular drugs. MTD Op., at 18. Here, everything about the

Ambassador Program was specifically tailored to Humira, as Suarez’s allegations recognize.

       Crucially, Suarez cites no facts showing that, in the absence of a Humira prescription,

physicians would have otherwise needed to perform the patient support tasks Ambassadors

fulfilled. Nor can he, since by Suarez’s own allegations Ambassadors provided exclusively

Humira-related support that addressed the special challenges that the medication presents. Indeed,

the complaint highlights this flaw when it admits that Humira imposes “particularly prevalent”

costs “given that Humira (and Humira patients) typically require significant non-billable support

due to chronic disease states, concerns about side effects, and the need to learn and manage self-

injections.” SAC ¶ 6; see also id. ¶ 59 (admitting that “Humira is particularly challenging for



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doctors”). According to the complaint, the tasks Ambassadors perform are unique to Humira and

thus not something physicians would need to do if they did not prescribe it.

       So too for the Humira-related goods Suarez takes issue with—the same items he identified

in his prior complaint: “Talking Training Pens” that teach patients “how to inject themselves,”

“Humira travel kits” to “enable patients to travel with Humira,” computer “terminals” that were

“dedicated” to Humira, “preprinted Prior Authorization and other benefit forms,” and “free

dosages of Humira.” Compare id. ¶¶ 6, 108-10, 144, with MTD Op., at 7, 11-12 (noting the same

items). All of these products necessarily go hand-in-hand with Humira itself, so Suarez must again

“concede[] the point” that AbbVie was entitled to support its product and patients with these items.

MTD Op., at 12.

       Finally, “[e]ven assuming that offering free product support or reimbursement support

services could violate the AKS”—and it cannot—Suarez still has not “ple[d] with the particularity

required by Rule 9(b)” that physicians actually saved money. Id. at 18. Although Suarez now

theorizes that the Ambassador Program surely must have reduced pressures on busy medical

practices, see SAC ¶¶ 161, his complaint never offers the “who, what, when, where, and how” of

specific financial benefits, Berkowitz, 896 F.3d at 839 (citation and quotation marks omitted). For

example, Suarez adds some general statistics about “estimated” and “average” administrative

costs, but he never links this high-level data to actual doctors—let alone to doctors who prescribed

Humira or had any association with the Ambassador Program. See SAC ¶¶ 5, 55-64 & nn.4-12.

In fact, when the complaint later names a handful of doctors who supposedly were affiliated with

the Program, it says nothing at all about how they benefitted financially. E.g. id. ¶¶ 75-76, 97, 99,

111; compare MTD Op., at 18 (recognizing Suarez had “name[d] doctors” but failed to provide

sufficiently particular information). Suarez even admits that he “cannot state the amounts paid by



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[the ‘representative’] physicians for administrative work.” SAC ¶ 161. Nor does he allege with

particularity that doctors would have actually performed the same Humira-support services offered

by Ambassadors, and so the complaint fails to show that the Ambassador Program had any impact

on physicians in the first place. Thus, Suarez still lacks the necessary concrete examples showing

that doctors “reduced their expenses or downsized their own staff as a result of Ambassadors’

support services.” MTD Op., at 18.

         In the end, Suarez simply has doubled down on his earlier allegations that AbbVie provided

support services tied to Humira, “and no others.” Id. at 15. These services are “integrally related”

to Humira and confer no “substantial independent value” on doctors, and are thus perfectly lawful

under longstanding interpretations of the AKS. Id. at 11-13. As courts and the government

recognize, they are not improper remuneration but rather essential to the government’s “strong

interest” in improving patient-care. NHCA-TEV, 2019 WL 6327207, at *3 (citation omitted). With

no particular allegations that AbbVie provided anything more than Humira-related assistance,

Suarez’s claims fail again as a matter of law.

II.      THE COMPLAINT LACKS THE REQUIRED PARTICULARITY.

         The complaint still also fails to satisfy Rule 9(b)’s heightened pleading standard. Rule 9(b)

requires relators to “allege either that the [defendant] submitted a claim to [the government] on

behalf of a specific patient who had received a kickback, or at least name a … patient who had

received a kickback.” U.S. ex rel. Grenadyor v. Ukrainian Vill. Pharmacy, Inc., 772 F.3d 1102,

1107 (7th Cir. 2014); see also MTD Op., at 19 (requiring Suarez to “link specific allegations of

fraud or deceit—in this case, kickbacks—to claims for government payment”). In other words, a

relator must “allege … specific facts demonstrating what occurred at the individualized

transactional level.” Berkowitz, 896 F.3d at 841.



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       Like last time, Suarez does not sufficiently “allege that a claim was submitted to a

government health care program for any … patient” “for whom a doctor prescribed Humira in

exchange for a kickback.” MTD Op., at 20. Although he tacks on a few allegedly “representative”

examples about unnamed patients, see SAC ¶¶ 152-60, these thin allegations still “plainly fall short

of pleading fraud under Rule 9(b),” U.S. ex rel. Dolan v. Long Grove Manor, Inc., 2014 WL

3583980, at *5 (N.D. Ill. July 18, 2014) (rejecting complaint that cited specific patients because

allegations left open several “questions” about the treatment of these patients and the resulting

claims). For example, Suarez’s few allegations that actually name a doctor say that the patient

received assistance from AbbVie’s Patient Assistance Foundation—not funding from the

government. See SAC ¶¶ 154-56. The other allegations implicating Medicare do not name the

physicians who supposedly were influenced by the Ambassador Program. E.g. id. ¶¶ 153, 157-60.

Nor do they show that the Ambassador Program was what caused doctors to write Humira

prescriptions. On the contrary, the “examples” merely show that Ambassadors’ accomplishments

prompted physicians who were already prescribing Humira to use the Ambassador Program—not

the reverse, as Suarez’s theory suggests. E.g. id. ¶¶ 154-56 (noting that a doctor “continued to

write Humira prescriptions”), 157-58 (alleging that Suarez’s services overcame an already-

prescribing doctor’s “reluctan[ce] to use the Ambassador Program”). Thus, he still has not

“name[d] a specific patient for whom a doctor prescribed Humira in exchange for a kickback.”

MTD Op., at 20 (emphasis added). Without more, Suarez cannot show fraud “at the individualized

transactional level.” Berkowitz, 896 F.3d at 841.

       Nor can Suarez avail himself of a relaxed particularity standard. As this Court already

explained, Suarez must do two things to avoid Rule 9(b)’s usual requirements: “allege[] that he




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lack[s] access to claim information,” and “allege[] facts necessarily le[ading] to the conclusion

that [AbbVie] presented claims to the Government.” MTD Op., at 22-23. He does neither.

       First, Suarez does not alleged a lack of access to “claim information.” Id. at 23. Although

he halfheartedly requests discovery on “the amounts paid by [the ‘representative’] physicians for

administrative work and staffing support,” SAC ¶ 161 (emphasis added), that is very different from

alleging that he lacks access to information about claims presented to or paid by the government—

the party-in-interest in this suit, see MTD Op., at 22-23. This omission alone is dispositive.

       Second, Suarez’s allegations do not “necessarily” imply the submission of false claims. Id.

The substance of his complaint is a hodgepodge of lawful patient support activities and general

statistical information about physician expenses—a far cry from the sort of detailed information

courts have held sufficient in other cases. E.g. id. at 22-24 (collecting and distinguishing cases in

which relators alleged far more information). Suarez’s amended allegations therefore still “just as

easily allow for an inference that doctors prescribed Humira … because they thought the drug was

medically necessary,” and not because AbbVie offered anything of independent value. Id. at 23-

24. Nothing demands the conclusion that AbbVie submitted a claim to the government in a case

where it also violated the AKS.

       Independently, even if the complaint were sufficiently particular with respect to the

identified patients—and it is not—those discrete allegations still would not state a claim for

nationwide fraud. See id. at 24-25; Forney, 2017 WL 2653568, at *5 (“[B]lanket allegations of a

nationwide scheme do not meet the particularity requirement of Rule 9(b).”); cf. Grenadyor, 772

F.3d at 1108 (noting relator pled information concerning just two out of seven states). At most,

Suarez’s allegations about patients mention six states. See SAC ¶¶ 153 (Florida), 159 (Alaska,

Arizona, Washington), 168 (Massachusetts and North Carolina). And those that pertain to any



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state aside from Florida are exceptionally vague. E.g. id. ¶¶ 159 (noting an Arizona patient was

“originally from Alaska” and “had been flying … to Seattle, Washington to see a dermatologist”),

168 (mentioning only that Suarez “assisted” with patients in Massachusetts and North Carolina).

Nor do his passing references to AbbVie employees and events in few other states amount to

particularized allegations of unlawful activity in those locations. E.g. id. ¶¶ 163-70. Once again,

Suarez’s general assertions about the Ambassador Program’s nationwide reach cannot support the

“infer[ence] … that the alleged fraud took place in [29] states and the District of Columbia.” MTD

Op., at 25 (rejecting Suarez’s allegations about “national sales meetings” and the “‘Operation

Dakota’ initiative” as insufficient).

III.   SUAREZ STILL DOES NOT ALLEGE SCIENTER.

       To state an AKS-based FCA claim, a relator must allege the defendant acted with the

scienter necessary to violate both statutes. Suarez fails to do so for two reasons. First, under the

AKS, he again pleads no facts showing that AbbVie acted “knowingly and willfully,” 42 U.S.C.

§ 1320a-7b(b)(2)—i.e., “‘kn[e]w that [its] conduct was in some way unlawful,’” United States v.

Williams, 218 F. Supp. 3d 730, 736 (N.D. Ill. 2016) (quoting United States v. Wheeler, 540 F.3d

683, 690 (7th Cir. 2008)); see also id. at 740-41 (rejecting a vagueness challenge because the

AKS’s “high scienter requirement” demands that the defendant have “knowledge that the act is

unlawful”); United States v. Patel, 17 F. Supp. 3d 814, 824 (N.D. Ill. 2014), aff’d, 778 F.3d 607

(7th Cir. 2015).    Second, and independently, AbbVie cannot be liable under the FCA for

“knowingly” submitting a false claim because it acted under an objectively reasonable

interpretation of the AKS, defeating scienter as a matter of law. See U.S. ex rel. Purcell v. MWI

Corp., 807 F.3d 281, 284, 287-88 (D.C. Cir. 2015).




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       A.      Suarez Fails to Allege AbbVie Knowingly and Willfully Violated the AKS

       Nothing in the complaint shows that AbbVie “intended to engage in conduct that [it] knew

was wrongful.” MTD Op., at 25 (quoting Patel, 17 F. Supp. 3d at 824). As this Court has

explained, it is Suarez’s “burden … to allege facts supporting an inference that AbbVie thought

the Ambassador Program was impermissible.” Id. at 26; see also U.S. ex rel. Young v. Suburban

Home Physicians, 2017 WL 6625940, at *3 (N.D. Ill. Dec. 28, 2017) (dismissing an AKS

complaint because the relators did not “plead … facts supporting the inference that defendants

knew their conduct was wrongful”). He has not done so. The complaint points to no statements

or documents showing that AbbVie believed the Ambassador Program was unlawful. E.g.

Forney, 2017 WL 2653568, at *5 (noting that the relator failed to allege that any “employee knew

that providing free services violated the AKS or that the providers [the defendant] serviced would

submit false claims”). Moreover, given that this Court has already recognized that extensive

agency “guidance [permits] a pharmaceutical company [to] provide product and reimbursement

support services,” it is implausible to say that AbbVie knowingly and willfully violated the law.

MTD Op., at 26; see also Young, 2017 WL 6625940, at *3 (refusing to “impute … knowledge to

[the d]efendant” when the complaint failed to show that the alleged “conduct was wrongful”).

Were there any doubt whatsoever, AbbVie’s decision to publicly promote the allegedly improper

features of the Ambassador Program on its website belies any possible inference of scienter. See

MTD Op., at 27. Likewise, Suarez’s allegations that AbbVie openly operated a vast, nationwide

network of Ambassadors and helped countless patients in a highly regulated industry cannot be

squared with the conclusion that AbbVie knew that its conduct was wrongful. See SAC ¶¶ 162-

170.

       Suarez’s response is to reiterate and expand his allegations that AbbVie’s efforts to disguise

the “true nature of the Ambassador Program” are evidence of a guilty mind. MTD Op., at 8, 26;

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see also id. at 4 (noting allegations that “[t]he program’s true goal … is not patient education and

support”); compare First Am. Compl. (Dkt. 20) ¶¶ 52, 54-55, 57-60, 67-68, 71-72, 77, 86-87, 98-

100 119-21, 124-25, 131-37 (alleging that AbbVie had a profit motive, downplayed Ambassadors’

medical functions, and instructed Ambassadors not to document their activities), with SAC ¶¶ 2,

8, 65-67 77-84, 88-93, 100-07, 133-36, 179, 185-89 (similar). But he still has cited nothing that

connects “the alleged cover-up efforts” to specific unlawful activities, as this Court said he must

to state a claim. MTD Op., at 26-27. Nor does the complaint add anything that responds to this

Court’s earlier recognition that “AbbVie’s Humira website dispels any inference that AbbVie was

trying to conceal the services that [Suarez] contends violated the AKS.” Id. at 24; see also Ex. B 6

(offering “help with injections, … co-pay savings, … on-call nurse support, and more”); Ex. A

(indicating that patients could receive “[i]n-person injection training … from a registered nurse in

[their] home, office, or clinic,” as well as “Injection Training Kit[s]” and “On-the-Go Kit[s]”—all

“at no additional cost”). In light of these open disclosures, Suarez cannot allege a knowing

violation of the AKS.

       B.      Suarez’s Complaint Also Fails to Satisfy the FCA’s Objective Scienter
               Requirement

       Suarez cannot allege the scienter necessary under the FCA either. To violate the FCA, a

person must “knowingly present[] … a false or fraudulent claim” to the government. Universal

Health Servs., Inc. v. U.S. ex rel. Escobar, 136 S. Ct. 1989, 1999 (2016) (citation omitted). Courts

assess that “rigorous” scienter requirement, id. at 2002, under an “objective knowledge standard,”

Purcell, 807 F.3d at 284, 290. Where “the statutory text and relevant court and agency guidance



6
    Humira.com, Sign Up for myHUMIRA Savings & Resources, https://web.archive.org/web/
    20150905130354/https:/www.humira.com/my-humira/sign-up (captured Sept. 5, 2015; last accessed
    Jan. 22, 2020).


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allow for more than one reasonable interpretation, it would defy history and current thinking to

treat a defendant who merely adopts one such interpretation as a knowing or reckless violator.”

Safeco Ins. Co. of Am. v. Burr, 551 U.S. 47, 69-70 & n.20 (2007). 7 A defendant thus cannot

“knowingly” submit a false claim unless the applicable rules clearly prohibited payment. Purcell,

807 F.3d at 287-288 (“[T]he FCA does not reach … claims made based on reasonable but

erroneous interpretations of a defendant’s legal obligations.” (quotation marks omitted)).

        Objective reasonableness is a pure question of law for the Court. Safeco, 551 U.S. at 69-

70 & n.20; Purcell, 807 F.3d at 288. If the defendant’s understanding of the law was objectively

reasonable, then the Court must dismiss unless the relator adequately alleges the defendant “had

the benefit of guidance from the courts of appeals or the [relevant agency] that might have warned

it away from the view it took.” Safeco, 551 U.S. at 70 & n.20; see also U.S. ex rel. Streck v.

Allergan, Inc., 746 F. App’x 101, 110 (3d Cir. 2018) (affirming dismissal of an FCA claim where

the defendants’ interpretation of an ambiguous statute was objectively reasonable, and the relator

did not adequately plead the defendants were warned away from their interpretation); Hixson, 613

F.3d at 1190 (affirming dismissal and holding that “a statement that a defendant makes based on a

reasonable interpretation of a statute cannot support a claim under the FCA if there is no

authoritative contrary interpretation of that statute”).




7
    Every court of appeals to consider the issue has concluded Safeco’s scienter standard applies equally
    to the FCA. See Purcell, 807 F.3d at 290-91; U.S. ex rel. Donegan v. Anesthesia Assocs. of Kansas
    City, PC, 833 F.3d 874, 879-80 (8th Cir. 2016); U.S. ex rel. McGrath v. Microsemi Corp., 690 F. App’x
    551, 552 (9th Cir. 2017); U.S. ex rel. Streck v. Allergan, Inc., 746 F. App’x 101, 106 (3d Cir. 2018). A
    court in this district likewise recently applied Safeco to the FCA. See U.S. ex rel. Streck v. Takeda
    Pharm. Am., Inc., 381 F. Supp. 3d 932, 938-40 (N.D. Ill. 2019) (applied Safeco to the FCA but denied
    motion to dismiss in light of longstanding government guidance “sufficient to have warned defendants
    away” from their interpretation of the law).


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       These principles require dismissal here. As this Court recognized, Suarez’s “allegations

do not support an inference that AbbVie acted with actual knowledge of wrongdoing,” MTD Op.,

at 28, and he has added nothing to cure that defect. Nor can Suarez plausibly show a reckless

violation under Safeco’s objective standard. See Purcell, 807 F.3d at 284, 290. Given agency

guidance on patient support programs, AbbVie’s position that the Ambassador Program is lawful

and appropriate is reasonable as a matter of law; the AKS and relevant guidance expressly permit

the support services AbbVie provides for Humira. See supra, I (collecting authorities). At worst,

that question is subject to more than one reasonable interpretation. Accordingly, Suarez cannot

possibly “show that there is no reasonable interpretation of the [AKS] that would make the

allegedly false statement true.” Hixson, 613 F.3d at 1191. Nor do Suarez’s allegations identify

any authoritative agency guidance or court of appeals opinion that could have warned AbbVie

away from its view that its services were permissible. That defeats scienter under the FCA as a

matter of law. E.g., Streck, 746 F. App’x at 110 (affirming dismissal because defendants’

interpretation of agency guidance was reasonable); Purcell, 807 F.3d at 291 (same); Hixson, 613

F.3d at 1190-91 (same).

IV.    THE PUBLIC DISCLOSURE BAR REQUIRES DISMISSAL.

       The FCA’s public disclosure bar requires a court to “dismiss an [FCA] action … if

substantially the same allegations or transactions … were publicly disclosed” unless “the person

bringing the action is an original source of the information.” 31 U.S.C. § 3730(4)(A). Congress

enacted this bar “to strike a balance between encouraging private persons to root out fraud and

stifling parasitic lawsuits.” Graham Cty. Soil & Water Conservation Dist. v. U.S. ex rel. Wilson,

559 U.S. 280, 294-95 (2010). As Congress recognized, “where a public disclosure has occurred,

the relevant governmental authority is already in a position to vindicate society’s interests, and a



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qui tam action would serve no purpose.” Bellevue v. Universal Health Servs. of Hartgrove, Inc.,

867 F.3d 712, 716 (7th Cir. 2017) (brackets and citation omitted).

        When, as here, the government declines to intervene in an FCA action, the public disclosure

bar requires dismissal of any suit involving “allegations … [that] have been ‘publicly disclosed’

through one of the [statute’s] enumerated channels” if that suit is “‘based upon,’ i.e., ‘substantially

similar to,’” information that has already been made public. Cause of Action, 815 F.3d at 274; 31

U.S.C. § 3730(e)(4)(A). 8 “A qui tam action even partly based upon publicly disclosed allegations

or transactions … is nonetheless based upon such allegations or transactions.” Cause of Action,

815 F.3d at 282 (emphasis added). When the public disclosure bar is triggered, a relator cannot

proceed unless he has “knowledge that is independent of and materially adds” to the public

disclosures. 31 U.S.C. § 3730(e)(4)(B)(2). Thus, a relator must do more than “merely ‘add[]

details’ to what is already known in outline.” U.S. ex rel. Bogina v. Medline Indus., Inc., 809 F.3d

365, 370 (7th Cir. 2016) (citation omitted); see also Bellevue, 867 F.3d at 721 (relator whose

“allegations [are] substantially similar to … publicly disclosed allegations” does not “materially

add to the public disclosure” and cannot be “an original source” (quotation marks omitted)).

        Here, the facts underlying the alleged fraud were disclosed through a variety of publicly

accessible sources, including AbbVie-created websites, and Suarez has not (and cannot) establish

himself as an “original source” of that information.




8
    In 2010, Congress amended the public disclosure bar, changing the trigger from whether a relator’s
    allegations are “based upon” public disclosures to whether allegations are “substantially the same” as
    the public disclosures. See Pub. L. No. 111-148, 124 Stat. 119, 901, § 10104(j)(2) (Mar. 23, 2010).
    This amendment did not materially alter the applicable standard. See Bellevue, 867 F.3d at 718 (noting
    that “this change [was] not significant” and “incorporate[d]” prior judicial interpretations). The
    amendment also modified the definition of “original source,” but this was also “a clarification rather
    than a substantive change.” Id.


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       A.      Suarez’s Allegations Were Publicly Disclosed

       “[T]he purpose of a public disclosure is to alert the responsible authority that fraud may be

afoot.” Cause of Action, 815 F.3d at 275 (citation omitted). To qualify as a public disclosure, “the

relevant information” must have been “placed in the public domain” and must contain “the critical

elements exposing the transaction as fraudulent.” Bellevue, 867 F.3d at 718 (citation omitted); see

also Bogina, 809 F.3d at 370 (holding information was publicly disclosed where “[t]he government

was … on notice of the possibility of a broader bribe-kickback scheme before [the relator] sued”).

A public disclosure can occur through any of the sources listed in the statute, including through

the “news media,” 31 U.S.C. § 3730(e)(4)(A)(iii)—a term that has a “broad sweep,” Schindler

Elevator Corp. v. U.S. ex rel. Kirk, 563 U.S. 401, 408 (2011) (brackets omitted). Courts thus

uniformly hold that “publicly available websites,” like AbbVie’s, “qualify as ‘news media’ for

purposes of the public-disclosure provision.” U.S. ex rel. Osheroff v. Humana, Inc., 776 F.3d 805,

813 (11th Cir. 2015); accord U.S. ex rel. Beauchamp v. Academi Training Ctr., 816 F.3d 37, 43

n.6 (4th Cir. 2016) (“Courts have unanimously construed the term ‘public disclosure’ to include

websites and online articles.”); see also Cause of Action, 815 F.3d at 274 (“[M]aterial is in the

public domain when the information is open or manifest to the public at large.”).

       Here, Suarez alleges that AbbVie’s Ambassador Program—through which he alleges that

registered nurses assisted patients with administering their injections and managing their insurance

claims—induced doctors to prescribe Humira, and that these services were therefore kickbacks,

rendering false resulting claims for reimbursement. SAC ¶¶ 1-7, 68-69, 72, 75, 84, 118, 173-74.

Even if these allegations had merit—and they do not—the public disclosure bar requires their

dismissal because the “facts … providing a basis for [Suarez’s] inference that fraud has been

committed” were already “open or manifest to the public at large.” Cause of Action, 815 F.3d at

274, 278 (citation omitted).

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       Information about the alleged features of the Ambassador Program was readily available

on publicly available websites well before Suarez sued in October 2015. He alleges, for instance,

that Ambassadors were tasked with “fulfilling the Humira prescription and answering patient

questions about it,” “making sure the patient has access to reimbursement or, as needed, free

drugs,” and “advis[ing] patients on ways in which to limit adverse events at injection sites.” SAC

¶¶ 118-22. But these features of the Ambassador Program were already set forth in detail on

AbbVie-created websites. AbbVie’s patient-facing website for Humira, humira.com, advised:

“HUMIRA offers resources to help you with your treatment plan from the very start. From help

with injections, to co-pay savings, to on-call nurse support, and more, you can choose the services

and tools that are most useful to you.” Ex. B. The same website indicated that patients could

receive “[i]n-person injection training … from a registered nurse in [their] home, office, or clinic.”

Ex. A. Humira’s website for medical professionals, humirapro.com, similarly stated that patients

could avail themselves of “Nurse Injection Training” including “in person” or “at home.” Ex. C 9;

compare SAC ¶¶ 68-69, 118-22, 153-60 (describing Ambassador-patient interactions).

       Other supposedly fraudulent features of the Ambassador Program were also described on

the Internet before Suarez filed his complaint. Setting aside the accuracy of these postings, the

mere fact that they existed constitutes a public disclosure. One participant on an internet message

board (pseudonym “exposure_therapy”), for instance, wrote in January 2014: “[M]y Humira rep

… came to my apartment, . . . help[ed] me to sort out my insurance coverage[], and taught me




9
    Humirapro.com, Designed to help support your patients with their HUMIRA treatment plan,
    https://web.archive.org/web/20150929183503/http:/www.humirapro.com:80/Utility/
    MyHumiraPatient.aspx (captured Sept. 29, 2015; last accessed Jan. 22, 2020).


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how to do the injection using a practice pen.” Ex. D. 10 Another participant on the same site

(pseudonym “aydyl”) reflected: “I still call [my Nurse Ambassador] every other day when I’m not

feeling well because she comunicates [sic] with my doctor.” Id. (emphasis added). A different

website also described the program in April 2014, emphasizing “receiv[ing] [gratis] alcohol swabs,

calendars and journals to track my injections and progress, a travel kit and ongoing support from

[an Ambassador] anytime I have questions”—features that mirror Suarez’s allegations here. Ex.

E. 11 The poster added: “The best benefit is my co-pay was reduced for [sic] $50 to $5 since I was

enrolled in an assistance program offered by Abbvie [sic].” Id. A February 2015 post also

reviewed the Ambassador Program, noting that Ambassadors were responsible for providing

training on “How HUMIRA works,” “Proper injection techniques,” “Helping patients … [with]

rebate renewal or financial hardship sponsorships,” and “Reporting side effects directly to

AbbVie.” Ex. F. 12 These public posts all concerned the very same features of the Ambassador

Program on which Suarez focuses in his complaint. E.g. SAC ¶¶ 68-69, 118-22, 153-60.

        Not only were AbbVie’s supposedly improper services publicly disclosed, but so were the

“critical elements” necessary to draw Suarez’s mistaken conclusion that these services unlawfully

induced doctors to prescribe Humira. Bellevue, 867 F.3d at 718. In fact, one person did just that.

As early as August 2013, a website publicly asserted that the services offered under the



10
     Reddit.com, r/CrohnsDisease: My Humira ambassador program question (Jan 9, 2014, 6:42 PM),
     https://www.reddit.com/r/CrohnsDisease/comments/1utmut/my_humira_ambassador_program_
     question/ (emphasis added) (last accessed Jan. 22, 2020).
11
     TalkPsoriasis, Starting Humira very soon—need advice (Apr. 18, 2014, 10:27 PM),
     https://www.inspire.com/groups/talk-psoriasis/discussion/starting-humira-very-soon-need-advice/
     (last accessed Jan. 22, 2020).
12
     Pretty Rotten Guts, Exciting HUMIRA News (Feb. 17, 2015, 12:19 AM),
     http://prettyrottenguts.tumblr.com/post/111252220435/humira-news-february-2015 (last accessed Jan.
     22, 2020).


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Ambassador Program constituted significant “incentives” and “in-kind” remuneration for busy

doctors to prescribe Humira, thereby amounting to “huge gifts to the doctor.” Ex. G 13; compare

SAC ¶¶ 3-7, 55-76, 171.       “For a busy rheumatology or dermatology practice,” the author

continued, “this is like AbbVie providing two or three extra staff members free of charge. It’s

hard to overestimate the incentive this provides for the practice to use Humira.” Compare Ex. G

(emphasis added), with SAC ¶¶ 3-7, 171; see also SAC ¶ 68 (“The Ambassador Program provides

independent value to doctors who prescribe Humira because it saves them time and money they

(or their staff) would otherwise have to spend on patient care and administration.”). Suarez’s

complaint simply “parrot[s]” these public disclosures. U.S. ex rel. Lisitza v. Par Pharm. Cos.,

2017 WL 3531678, at *12 (N.D. Ill. Aug. 17, 2017).

        B.      The Complaint Is Substantially Similar to the Publicly Disclosed Allegations

        All of this makes clear that Suarez’s complaint is “substantially similar to the publicly

disclosed allegations.” Bellevue, 867 F.3d at 719-20. “[S]everal factors” bear on this analysis,

including whether Suarez “present[s] genuinely new and material information beyond what has

been publicly disclosed”; whether he “allege[s] a different kind of deceit”; whether his “allegations

require independent investigation and analysis to reveal any fraudulent behavior”; whether his

“allegations involve an entirely different time period than the publicly disclosed allegations”; and

whether he “supplied vital facts not in the public domain.” Id. (citation and quotation marks

omitted). None of these factors is present here.

        For one, Suarez’s “allegations pertain to the same entity … and describe the same allegedly

fraudulent conduct … as the publicly disclosed information.” Cause of Action, 815 F.3d at 282;



13
     Dr. David Healy, Welcome to the Humiraverse (Aug. 15, 2013), https://davidhealy.org/welcome-to-
     the-humiraverse/ (last accessed Jan. 22, 2020).


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accord Bellevue, 867 F.3d at 719-20. Moreover, his complaint concerns the same practices and

time period disclosed in the public allegations. See SAC ¶ 16 (alleging that Suarez worked as a

Nurse Ambassador in 2013 and 2014, a time period covered by the public disclosures). The

complaint also lacks allegations about AbbVie’s patient support program that were not previously

in the public domain. Because anyone with an internet connection would have had all the

information necessary to draw the same flawed inferences and make the same flawed claims

Suarez makes here, his complaint is “substantially similar” to the public disclosures, and the public

disclosure bar requires dismissal. See U.S. ex rel. Feingold v. AdminaStar Fed., Inc., 324 F.3d

492, 497 (7th Cir. 2003) (“Because [relator] points to no evidence upon which this suit depends

that is not publicly disclosed, we hold that [he] has based this action on publicly disclosed

documents ….”); U.S. ex rel. Solomon v. Lockheed Martin Corp., 878 F.3d 139, 145 (5th Cir.

2017) (holding a complaint is publicly disclosed if publicly available facts “could have been

synthesized to form the same inference [relator] … alleges in his complaint”).

       C.      Suarez Is Not an Original Source of the Allegations

       The Court must therefore dismiss Suarez’s claims unless he can establish he is an “original

source.” See 31 U.S.C. § 3730(e)(4)(A). But a relator cannot become an “original source” simply

by “recogniz[ing] the legal consequences” of publicly disclosed facts. Prather v. AT&T, Inc., 847

F.3d 1097, 1105 (9th Cir. 2017). Rather, the relator’s knowledge must be “independent” and

“materially add[]” to the public disclosures. 31 U.S.C. § 3730(e)(4)(B)(2). Failure to satisfy either

requirement requires dismissal. See Bellevue, 867 F.3d at 720-21 (declining to decide whether

relator possessed independent knowledge because he did not satisfy the materiality requirement).

       Suarez’s complaint alleges nothing so “sufficiently significant or essential … as to fall into

the narrow category of information that materially adds to what has already been revealed through

public disclosures.” U.S. ex rel. Winkelman v. CVS Caremark Corp., 827 F.3d 201, 211 (1st Cir.

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2016); see also Bogina, 809 F.3d at 370 (holding that a relator was not an original source where

the difference between his allegations and public disclosures was “unimpressive”). The relevant

patient support services—and Suarez’s theory that these were incentives to doctors to prescribe

Humira—were all publicly disclosed.        Thus, even crediting Suarez’s kickback theory, his

complaint cannot “materially add to the public disclosures, which were already sufficient to give

rise to an inference that [AbbVie was] providing illegal remuneration,” however incorrect.

Osheroff, 776 F.3d at 815; accord Bellevue, 867 F.3d at 721 (holding that the relator did not have

independent knowledge because “he has not materially added to the publicly disclosed

allegations”) (alterations and quotation marks omitted); Cause of Action, 815 F.3d at 283 (same).

Suarez thus cannot escape the public disclosure bar, and his claims must be dismissed.

V.      SUAREZ’S ALTERNATIVE THEORIES DO NOT STATE A CLAIM.

        The complaint reiterates two cursory theories in addition to its primary AKS-based claim:

that AbbVie’s supposed failure to comply with various pharmaceutical regulations resulted in the

submission of false claims, and that AbbVie violated state-law analogues to the FCA. See SAC

¶¶ 33, 180; see also MTD Op., at 30 & n.10. Neither states a claim.

        A.     Pharmaceutical Regulations

        Suarez’s vague allegations about pharmaceutical laws do not allege an FCA violation.

Once again, Suarez broadly asserts that AbbVie violated various federal drug-marketing rules. See

SAC ¶¶ 33-35, 181; MTD Op., at 30 n.10. But “[v]iolating a regulation is not synonymous with

filing a false claim.” Grenadyor, 772 F.3d at 1107. Because the FCA is not “an all-purpose

antifraud statute … or a vehicle for punishing garden-variety breaches of contract or regulatory

violations,” Berkowitz, 896 F.3d at 842 (citation omitted), “it is not enough to allege … that the

[defendant] engaged in a practice that violated a federal regulation,” Grenadyor, 772 F.3d at 1107.

Rather, a relator must link the defendant’s conduct to specific payment claims. Id.

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       At no point does the complaint make the required connection between its fleeting

references to pharmaceutical laws and any specific requests for Humira reimbursement. E.g. SAC

¶¶ 33-35. Suarez never even alleges the details of these purported violations, much less links any

purported misconduct to the submission of a false claim for reimbursement. Rule 9(b) demands

much more. See Grenadyor, 772 F.3d at 1107; MTD Op., at 19-20.

       Independently, the complaint fails to allege that the supposed marketing violations were

material to the government’s decision to pay. “The materiality standard is demanding” and

“rigorous,” and it excludes “garden-variety breaches of contract or regulatory violations.”

Escobar, 136 S. Ct. at 2002-03. A relator must “plead[] facts to support allegations of materiality.”

Id. at 2004 n.6. Here, however, Suarez does not even try to explain why these vaguely alleged

regulatory violations would impact reimbursement of Humira prescriptions. See U.S. ex rel.

Petratos v. Genentech Inc., 855 F.3d 481, 490 (3d Cir. 2017) (affirming the dismissal of a

complaint when “there [were] no factual allegations showing that [the government] would not have

reimbursed the[] claims” if it had full knowledge of the defendant’s conduct); U.S. ex rel. Patel v.

Catholic Health Initiatives, 2019 WL 6208665, at *4 (5th Cir. Nov. 20, 2019) (“Nothing in

Relators’ filings suggests that the government would stop the flow of funds … if it knew the

truth.”); see also United States v. Sanford-Brown, Ltd., 840 F.3d 445, 447 (7th Cir. 2016)

(“[Relator] has offered no evidence that the government’s decision to pay … would likely or

actually have been different had it known of [the] alleged noncompliance.”). The alleged

regulatory violations are not actionable under the FCA, and these claims must be dismissed. E.g.,

U.S. ex rel. Ge v. Takeda Pharm. Co., 737 F.3d 116, 124 (1st Cir. 2013) (“Because FCA liability

attaches only to false claims, merely alleging facts related to a defendant’s alleged misconduct is

not enough.” (citations omitted)).



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         B.      State-Law Claims

         The state-law claims are also meritless. As before, these claims are based on the same

allegations as the federal claims, and so they fail for the same reasons. E.g., In re Plavix Mktg.,

Sales Practice & Prods. Liab. Litig. (No. II), 332 F. Supp. 3d 927, 960 (D.N.J. 2017) (dismissing

claims under state false claims acts “[f]or the same reasons” as the claims under the federal FCA);

U.S. ex rel. Schneider v. J.P. Morgan Chase Bank, N.A., 224 F. Supp. 3d 48, 61 (D.D.C. 2016)

(same), aff’d, 878 F.3d 309 (D.C. Cir. 2017); cf. MTD Op., at 30 (noting that Suarez previously

“concede[d] that his claims for violations of state-law equivalents to the FCA rise and fall with his

FCA claims”). Certainly nothing in the new complaint shows why the state-law claims should be

treated any different from the federal ones. See SAC ¶ 32 (asserting “[s]tate laws have similar

prohibitions”). Furthermore, Suarez does not allege any facts tying AbbVie’s conduct to any

Medicaid claim submitted in any state, let alone with the particularity Rule 9(b) requires. See

Forney, 2017 WL 2653568, at *5; U.S. ex rel. Ribik v. HCR ManorCare, Inc., 2017 WL 3471426,

at *3 (E.D. Va. Aug. 10, 2017). In fact, Suarez only so much as mentions patients associated with

just 4 of the 30 jurisdictions that he claims to represent, e.g. SAC ¶¶ 153 (Florida), 159

(Washington), 168 (North Carolina and Massachusetts), and these cursory examples fall well short

of the particularity Rule 9(b) requires. 14

                                              CONCLUSION

         For all of these reasons, AbbVie respectfully requests that the Court dismiss the complaint

with prejudice. Suarez has had multiple “opportunities to plead his claims,” including after



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     Some state-law claims also have substantive problems. For example, New Mexico limits relator
     standing to “affected person[s]” and requires the State to “determine[] that there is substantial evidence
     that a violation … has occurred.” N.M. Stat. § 27-14-7(B), (E)(2). Suarez has not satisfied these
     requirements.


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receiving guidance from this Court, but his theories still fail as a matter of law. Grenadyor, 772

F.3d at 1109 (affirming denial of leave to amend FCA complaint).


 Dated: January 27, 2020                          Respectfully submitted,

                                                  /s/ Brenton A. Rogers

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                               CERTIFICATE OF SERVICE

       I hereby certify that on January 27, 2020, the foregoing was electronically filed with the

Clerk of Court using the CM-ECF system which will send notification of such filing to all counsel

of record.

                                                 /s/ Brenton A. Rogers
                                                 Brenton A. Rogers




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